
234 P.3d 209 (2010)
STATE of Washington, Respondent,
v.
Jo Wayne AARHUS, Petitioner.
No. 84140-3.
Supreme Court of Washington.
July 7, 2010.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fairhurst and Stephens, considered at its July 6, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the case is remanded to the Court of Appeals Division One for reconsideration in light of State of Washington v. Hall, 168 Wash.2d 726, 230 P.3d 1048 (2010).
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
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